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                                                                                FILED US District Cc,urt-UT
                                                                                JUL 31 '24 AMl0:04

                     IN THE UNITED STATES DISTRJCT COURT
                                  DISTRJCT OF UTAH

 UNITED STATES OF AMERJCA,               INDICTMENT

        Plaintiff,                       Count 1: 49 U.S.C. § 46504, Interference with a
                                         Flight Crew
        vs.
                                         Count 2: 18 U.S.C. § 32(a)(8) and (1),
 ERJC NICHOLAS GAPCO,                    Attempted Damage to an Aircraft
                                         in the Special Aircraft Jurisdiction of the United
        Defendant.                       States

                                                  Case: 2:24-cr-00250
                                                  Assigned To: Sam, David
                                                  Assign. Date: 7/30/2024
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      The Grand Jury charges:

                                      COUNT 1
                                   49 U.S.C. § 46504
                           (Interference with a Flight Crew)

      On or about July 18, 2024, in the District of Utah and elsewhere,

                             ERJC NICHOLAS GAPCO,
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the Defendant herein, in the special aircraft jurisdiction of the United States as defined in

49 U.S.C. § 46501(2), did assault and intimidate flight attendants and crew members of

an aircraft, thereby interfering with the performance of the duties of the flight attendants

and crew members and lessening the ability of the flight attendants and crew members to

perform those duties, all in violation of and punishable under 49 U.S.C. § 46504.



                                          COUNT2
                                 18 U.S.C. § 32(a)(8) and (1)
                             (Attempted Damage to an Aircraft
                  in the Special Aircraft Jurisdiction of the United States)

        On or about July 18, 2024, in the District of Utah and elsewhere,

                               ERIC NICHOLAS GAPCO,

the Defendant herein, did willfully attempt to damage and disable an aircraft in the

special aircraft jurisdiction of the United States as defined in 49 U.S.C. § 46501(2), to

wit, an Airbus A321 aircraft being operated by American Airlines as Flight 2101 from

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Seattle, Washington to Dallas, Texas, and diverted to Salt Lake City, Utah, all in

violation of 18 U.S.C. § 32(a)(8) and (1), and punishable thereunder.



A TRUE BILL:




TRINA A. HIGGINS
UNITED STATES ATTORNEY


 ~/d7J__
MICHAEL KENNEDY
Assistant United States Attorney




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